
GREEN, J.
delivered the opinion of the court.
This bill charges, that the complainant is the equitable owner of the six square poles of land in controversy, and that the defendant fraudulently procured a deed to be made to himself by Martin Johnson, in whom the legal title was vested, and prays a devestiture, &amp;c. The defendant pleads the statute of limitations.
The proof shows, that the defendant has been in possession of the land twenty years, claiming it, as his own, by virtue of an unregistered deed from Johnson.
The statute of limitations is clearly a bar to this suit. The fact, that the defendant procured a deed by fraud, if it were so, and fraudulently obtained possession, would make no difference. The statute makes no exception for fraud, and will run in favor of a possession and title obtained by fraud. Affirm the decree.
